        Case 1:24-cv-01381-PLF          Document 15        Filed 06/21/24      Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HESAI TECHNOLOGY CO., LTD, et al., )
                                     )
                  Plaintiffs,        )
                                     )
            v.                       )  Civil Action No. 1:24-cv-01381
                                     )
U.S. DEP’T OF DEFENSE, et al.,       )
                                     )
                  Defendants.        )
____________________________________)


                    NOTICE OF FILING THE CERTIFIED LIST OF
                 THE CONTENTS OF THE ADMINISTRATIVE RECORD

       Pursuant to the Court’s Scheduling Order, ECF No. 13, and Local Rule 7(n)(1), attached

hereto is a certified list of the contents of the Administrative Record. Defendants, through counsel,

also transmitted the Administrative Record to Plaintiffs’ counsel on June 21, 2024.


Dated: June 21, 2024                          BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              LAUREN WETZLER
                                              Deputy Director


                                              /s/ Stephen M. Elliott
                                              STEPHEN M. ELLIOTT (PA Bar# 203986)
                                              Senior Trial Counsel
                                              United States Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L St. NW
                                              Washington, D.C. 20005
                                              Tel: (202) 353-0889 Fax: (202) 616-8470
                                              E-mail: stephen.m.elliott@usdoj.gov

                                              Counsel for Defendants
